USCA Case #22-1140               Document #2008749             Filed: 07/20/2023      Page 1 of 1

                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1139                                                     September Term, 2022
                                                                                EPA-87FR25412
                                                           Filed On: July 20, 2023
Concerned Household Electricity Consumer's
Council, et al.,

                   Petitioners

         v.

Environmental Protection Agency,

                   Respondent

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American Lung Association, et al.,
                   Intervenors
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Consolidated with 22-1140



          BEFORE:          Srinivasan, Chief Judge; Henderson, Millett, Pillard, Wilkins,
                           Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                              ORDER

      Upon consideration of petitioners’ petition for rehearing en banc, and the
absence of a request by any member of the court for a vote, it is

         ORDERED that the petition be denied.

                                             Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                       BY:    /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk
